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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

John Doe,

                          Plaintiff,                                    No. _____________

                 v.

SEAN COMBS, DADDY’S HOUSE RECORDINGS INC.,                                      COMPLAINT AND
CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a                                           DEMAND FOR
COMBS ENTERPRISES LLC, BAD BOY                                                  JURY TRIAL
ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS, INC.,
BAD BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
BAD BOY PRODUCTIONS LLC,
ORGANIZATIONAL DOES 1-10, and MACY’S INC.

                          Defendants.

-------------------------------------------------------X

                 Plaintiff John Doe (“Plaintiff”), by and through his attorneys, The Buzbee Law

Firm, for his Complaint alleges as follows:

                                             INTRODUCTION

        1.       This case seeks both compensatory and punitive damages for aggravated sexual

assault of Plaintiff John Doe which occurred at a Macy’s department store. The conduct described

herein is violent and shockingly typical of how Defendant Sean Combs conducted himself for

many years. Many individuals and entities facilitated and enabled his abhorrent conduct. Sean

Combs believed he was above the law. He is not.

        2.       For decades, Sean Combs (a/k/a “P. Diddy,” a/k/a “Puff Daddy,” a/k/a “Diddy,”

a/k/a “PD,” and a/k/a “Love”) (herein as “Combs”) abused, molested, raped, assaulted, threatened

and coerced women, men and minors for sexual gratification, to assert dominance, and to conceal
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his abhorrent conduct. Combs accomplished these acts by and through a criminal enterprise built

on his success as a rapper, record producer and record executive. Combs is reportedly one of the

wealthiest musical artists in the world. Behind the façade of being a three-time Grammy Award

winner, discovering and developing multiple famous musical artists, and ranking on Forbes’ list

of the highest-paid entertainers in the world, there existed something sinister– a dark underbelly

of crime, sex trafficking, forced labor, kidnapping, bribery and prostitution. Combs is a menace to

society, women, men and children. While his wealth has kept him above consequence for years,

Combs now faces the awesome power of the American judicial system and ultimately a jury of his

peers, who will be asked to punish him for the deplorable conduct described herein.

       Combs’ Businesses

       3.      Combs’ business enterprise is central to the pervasive acts of sexual assault and

abuse committed by him, his posse, and his pals during the last decades. Combs operated his

business, headquartered at various times in Manhattan and Los Angeles, under a variety of United

States-based corporate entities, including Bad Boy Entertainment, Bad Boy Books Holdings, Inc.,

Bad Boy Records LLC, Bad Boy Entertainment, LLC, Bad Boy Productions, LLC, Daddy’s House

Recording Studio, Inc., and CE OPCO, LLC d/b/a Combs Global, f/k/a Combs Enterprises LLC,

Combs Enterprises and Combs Global (collectively, the “Combs Business”). Corporate entities in

the Combs Business portfolio included record labels, a recording studio, an apparel line, an

alcoholic spirits promoting business, a marketing agency, talent discovery, a television network

and a media company.

       4.      On the surface, each of these businesses served a legitimate purpose related to

entertainment, music and other subjects. But in reality, Combs, by and through himself and his

agents, employees and contractors, used these businesses to sexually assault, abuse, threaten and



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coerce hundreds of individuals through sexual quid pro quo schemes, as well as to take advantage

of individuals with impunity thinking the victims would never have any recourse. Combs and his

agents, employees and contractors, through these Combs Businesses, would tell victims, “this is

what it takes to be famous,” “what are you willing to do to become a star?,” and “perform this

sexual act or else” to coerce, cajole, or force the victim into performing a non-consensual sexual

act for the gratification of Combs and his cohorts.

       5.      Members and associates of the Combs Business engaged in (and/or attempted to

engage in), among other activities, sex trafficking, forced labor, interstate transportation for the

purposes of prostitution, coercion and enticement to engage in prostitution, narcotics offenses,

kidnapping, arson, bribery, and obstruction of justice.

       6.      The Combs Business constituted an ongoing organization whose members

functioned as a continuing unit for a common purpose of achieving the objectives of Combs.

       Combs’ Pervasive History of Sexual Assault and Violence

       7.      For years Combs and his businesses engaged in a persistent and pervasive pattern

of abuse toward women, men, and minors. This abuse was, at times, verbal, emotional, physical

and sexual. As part of his pattern of abuse, Combs manipulated both men and women to participate

in highly-orchestrated performances of sexual activity with both commercial sex workers and

unsuspecting partygoers. Combs ensured participation from these individuals by, among other

things, obtaining and distributing narcotics to them with or without their knowledge, controlling

their careers, leveraging his financial support and threatening to cut off the same, and using

intimidation, violence, and illicit drugs.

       8.      Combs, while celebrated for his business acumen and influence in the entertainment

world, has often been described in a more troubling light as powerful, manipulative, and



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problematic. His aggressive tactics, both in business and personal dealings, have drawn criticism,

with many viewing him as someone who leverages his power to intimidate and control. This darker

side of Combs’ persona has been underscored by the numerous lawsuits and allegations that have

surfaced over the years. Despite his undeniable success, his rise to the top is marred by a reputation

for being ruthless and manipulative, using his influence in ways that have left a trail of legal and

personal controversies including but not limited to the following:

               a. Nightclub Shooting Incident (1999): Combs was embroiled in a high-profile

                   case related to a nightclub shooting in New York, involving his then-girlfriend,

                   Jennifer Lopez, and rapper Shyne. Combs was acquitted of all charges, though

                   the case remains a significant legal event in his career.

               b. Multiple Assault Allegations: Combs has faced several lawsuits related to

                   alleged physical assaults, many of which have been settled out of court.

               c. Business Disputes: Combs has been involved in various business-related legal

                   conflicts, particularly surrounding his Sean John clothing line and other

                   ventures. These disputes often involved contractual disagreements and

                   trademark claims.

               d. Claims by Cassie Ventura: Combs’ former girlfriend, Casandra “Cassie”

                   Ventura, filed a lawsuit accusing him of years of physical, emotional, and

                   sexual abuse during their relationship. Cassie alleged repeated instances of

                   assault, coerced sexual acts, and drug use, all contributing to an environment of

                   fear and manipulation.

       9.      Combs particularly fancied the use of the popular date-rape drug Rohypnol, or

GHB, to commit heinous non-consensual acts of sexual violence and rape against countless



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victims. Combs often would secretly use the drug in an alcoholic beverage served at his parties,

typically in a seemingly innocent glass of champagne or a “lemon drop.” Partygoers were forced

to consume the alcoholic beverage, containing GHB, either prior to entering or while at Combs’

party. There are also allegations of Combs dousing victims in lotions or similar body oils, also

laced with GBH, so that the drug would be absorbed through the victim’s skin and make it easier

to take advantage of, exploit, and assault him or her.

       10.     Combs’ recurrent and pervasive physical abuse took place for multiple decades.

His tendencies for violence and sexual assault were well known amongst his colleagues,

employees, agents and businesses. On numerous occasions from at least in or about 1996 and

continuing for years, Combs assaulted women and men by striking, punching, dragging, throwing

objects at, and kicking them. Combs also assaulted children both physically and sexually.

       11.     In 1996, Combs was found guilty of criminal mischief for threatening a

photographer from the New York Post with a gun. In 1999, he was arrested and charged with

second-degree assault and criminal mischief in connection with assaulting a record executive.

Combs was arrested again the same year for his involvement in a shooting at a club in New York.

Another instance of violence occurred at a Los Angeles hotel in or about March 2016, which was

captured on video and later publicly reported, where Combs kicked, dragged and threw a vase at

a woman as she was attempting to leave his hotel room. When hotel security staff intervened,

Combs attempted to bribe the staff member to ensure silence.

       12.     In the past year, numerous civil complaints have been filed by plaintiffs who allege

that they had been sexually abused by Combs between 1991 and 2009. In November 2023, three

lawsuits were filed against Combs under the New York Adult Survivors Act. Cassie Ventura, an

artist signed to Bad Boy, sued Combs in New York for rape and physical abuse. She alleged Combs



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facilitated these acts by and through supplying Ms. Ventura with copious amounts of drugs and

urging her to take them, beginning in 2006.

       13.     Joi Dickerson-Neal also sued Combs in New York, alleging Combs drugged her,

sexually assaulted her and secretly recorded the assault in 1991.

       14.     Liza Gardner, whom Combs met at an event hosted by a record label affiliated with

Bad Boy, sued him for raping her and a friend in 1990 or 1991 when she was only 16.

       15.     In December 2023, an anonymous Plaintiff sued Combs in New York for drugging

and gang-raping her in 2003 when she was only seventeen years old. This victim alleged that

employees and business associates of Combs, through their affiliation with Bad Boy enterprise,

lured her to Combs’ home where Combs then raped her.

       16.     In February 2024, Rodney “Lil Rod” Jones, one of Combs’ former producers, sued

Combs for forcing him to engage in unwanted sex acts and sex trafficking, among other

allegations. Mr. Jones alleged that Combs regularly drugged others, including minors, by giving

them drugs laced with ecstasy (MDMA) and other date rape drugs. Mr. Jones alleged that Combs

in fact drugged him as well in order to commit acts of sexual assault.

       17.     In May 2024, former model Crystal McKinney and April Lampros sued Combs.

Ms. McKinney alleged that Combs drugged and sexually assaulted her at his recording studio in

2003. Mimicking what has now become a known pattern, Combs promised Ms. McKinney to help

her with her modeling career in exchange for engaging in sexual conduct with him. Ms. Lampros,

an intern at Arista Records, which was an owner of Bad Boy, also sued Combs in May 2024 in

New York County Supreme Court for raping her on multiple occasions, secretly filming these acts,

and showing the recordings to multiple people. Ms. Lampros also alleges that Combs ordered her

to take drugs on one occasion before he raped her.



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       18.     In July 2024, former adult film star Adria English – who was employed by Combs

as an entertainer at his infamous White Parties that brought together the biggest names in the music

and entertainment industries – sued Combs in the Southern District of New York for sex

trafficking, alleging that he required her to consume drinks laced with ecstasy and secretly

recorded sexual acts.

       19.     In September 2024, singer and songwriter Dawn Angelique Richard also sued

Combs. Richard was employed by Combs as part of the girl group Danity Kane, formed by Combs,

and later as a key member of Combs’ band Diddy – Dirty Money. She sued Combs in New York

for sexual assault, false imprisonment, and for subjecting her to hostile working conditions due to

her gender, including degrading comments and threats. Ms. Richard has alleged that Combs

regularly supplied others (including minors) with copious amounts of drugs and alcohol, and

subjected them to sexual acts while they were sedated and/or unconscious due to the drugs and

alcohol.

       20.     In September 2024, a federal grand jury in Manhattan indicted Combs and charged

him with sex trafficking, racketeering and the “creation of a criminal enterprise in which he abused,

threatened and coerced women and others around him to fulfill his sexual desires, protect his

reputation and conceal his conduct.” See United States of America v. Sean Combs, a/k/a “Puff

Daddy,” a/k/a “P. Diddy,” a/k/a “Diddy,” a/k/a “PD,” a/k/a “Love,” Index No. 24 Crim. 542,

Indictment (SDNY), at ¶ 1. The indictment explains that Combs’ abuse of women and minors was

enabled by “the employees, resources and influence of the multi-faceted business empire that he

led and controlled – creating a criminal enterprise whose members and associates engaged in, and

attempted to engage in, among other crimes, sex-trafficking, forced labor, kidnapping, arson,

bribery and obstruction of justice.”



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       21.     Combs’ long history of violence against both women and men unequivocally

establishes that his actions are motivated by gender. Combs has a profound contempt for women

and a desire to dominate both minors and other men. His conduct shows a longstanding practice

of denigrating, defeating and attempting to humiliate men, women and children. His practices and

desires are different for men, women and children. But his actions are unequivocally motivated by

the victims’ particular gender and age.

       22.     Plaintiff’s allegations herein substantially mirror Combs’ prior conduct as

established through criminal indictments and other lawsuits. Through this case, Plaintiff seeks a

full measure of justice from a man who thought his power, money and influence rendered him

untouchable. Plaintiff joins many other victims by filing this Complaint in the hopes their common

voice makes it impossible for Combs to assault another person ever again.

       23.     The conduct complained of in many of the cases to be brought involve others who

facilitated, encouraged, or participated in the conduct alleged.

                                            PARTIES

       24.     Plaintiff John Doe is a male who resides in Ohio (the city has been left unpled for

anonymity).

       25.     Defendant Sean Combs is a male who, on information and belief, resides in New

York City, through incarceration in the Metropolitan Detention Center in Brooklyn. On

information and belief, at all relevant times Combs owned and/or controlled Bad Boy

Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy Books Holdings, Inc.,

Bad Boy Records LLC, Bad Boy Entertainment LLC, Bad Boy Productions LLC, (collectively

“Bad Boy”), Daddy’s House Recording Studio, Inc., and CE OPCO, LLC d/b/a Combs Global,

f/k/a Combs Enterprises LLC (all together, the “Combs Corporations”). The facts of Combs’



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ownership and titles at the Combs Corporations enabled him to commit the unlawful sexual

violence against Plaintiff described herein and/or to harass and subsequently intimidate him into

silence after the rape.

        26.     Defendant CE OPCO, LLC d/b/a Combs Global, f/k/a Combs Enterprises LLC

(“Combs Global”) is a limited liability company incorporated in Delaware that has its principal

place of business at 9255 Sunset Boulevard, 2nd Floor, West Hollywood, California 90069. On

information and belief, all members of Combs Global are citizens of Delaware, New York, and/or

California. On information and belief, Combs Global is an alter ego for Combs and/or a successor

in interest to Combs’ other corporations and/or was established or used by Combs for the purpose

of moving, disposing of, and/or insulating his assets, including in connection with his criminal

activities and to avoid liability. Combs Global currently owns, controls, and/or oversees Bad Boy

and Combs’ other business ventures in the music, fashion, fragrance, beverage, marketing, film,

television, and media industries.

        27.     As part of his renowned Bad Boy record label and brand, Combs has established

several corporate entities under the “Bad Boy” name over the past few decades, including but not

limited to Bad Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy

Books Holdings, Inc., Bad Boy Records LLC, Bad Boy Entertainment LLC, and Bad Boy

Productions LLC (together, “Bad Boy”). On information and belief, all Bad Boy corporate entities

are alter egos for Combs, are controlled and/or directed by Combs, and/or were established or used

by Combs for the purpose of moving, disposing of, and/or insulating his assets, including in

connection with his criminal activities and to avoid liability. On information and belief, all active

Bad Boy entities are now owned and/or controlled by Combs and/or by Combs Global. Combs

used the Bad Boy premises/recording studio and their ownership and titles at Bad Boy to commit



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the unlawful sexual violence against Plaintiff described herein and/or to harass and subsequently

intimidate him into silence after the rape.

               a. Defendant Bad Boy Entertainment Holdings, Inc. is a domestic business

                   corporation incorporated in New York, that on information and belief now has

                   its principal place of business at 9255 Sunset Boulevard, 2nd Floor, West

                   Hollywood, California 90069. Bad Boy Entertainment Holdings, Inc. is part of

                   the Bad Boy enterprise founded and owned by Combs, and on information and

                   belief is now owned and/or controlled by Combs and/or by Combs Global.

                   Combs is listed as the CEO in public filings, with a listed address of 1710

                   Broadway, New York, New York 10019.

               b. Defendant Bad Boy Productions Holdings, Inc. is a domestic business

                   corporation incorporated in New York, that on information and belief now has

                   its principal place of business at 9255 Sunset Boulevard, 2nd Floor, West

                   Hollywood, California 90069. Bad Boy Productions Holdings, Inc. is part of

                   the Bad Boy enterprise founded and owned by Combs, and on information and

                   belief is now owned and/or controlled by Combs and/or by Combs Global.

                   Combs is listed as the CEO in public filings, with a listed address of 1710

                   Broadway, New York, New York 10019.

               c. Defendant Bad Boy Books Holdings, Inc. is a domestic business corporation

                   incorporated in New York, that on information and belief now has its principal

                   place of business at 1440 Broadway, 3rd Floor, New York, New York 10018.

                   Bad Boy Books Holdings, Inc. is part of the Bad Boy enterprise founded and

                   owned by Combs, and on information and belief is now owned and/or



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         controlled by Combs and/or by Combs Global. The CEO listed on public filings

         is Eddie Norward Jr., with a listed address of 1710 Broadway, New York, New

         York 10019, the same address listed for Sean Combs in public filings for Bad

         Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., and

         Daddy’s House Recordings, Inc.

      d. Defendant Bad Boy Records LLC is a Delaware limited liability company that

         on information and belief is headquartered in New York and/or California. On

         information and belief, all members of Bad Boy Records LLC are citizens of

         Delaware, New York, and/or California. On information and belief, Bad Boy

         Records LLC is part of the Bad Boy enterprise and/or a successor-in-interest to

         other Bad Boy Defendants that comprise the Bad Boy enterprise founded and

         owned by Combs. On information and belief, Bad Boy Records LLC is now

         owned and/or controlled by Combs and/or by Combs Global.

      e. Defendant Bad Boy Entertainment LLC is a New York limited liability

         company that on information and belief is headquartered in New York and/or

         California. On information and belief, all members of Bad Boy Entertainment

         LLC are citizens of New York and/or California. Bad Boy Entertainment LLC

         is part of the Bad Boy enterprise and/or a successor-in-interest to other Bad Boy

         Defendants that comprise the Bad Boy enterprise founded and owned by

         Combs. On information and belief, Bad Boy Entertainment LLC is now owned

         and/or controlled by Bad Boy Entertainment Holdings, Inc. and/or by Combs,

         and/or by Combs Global.




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               f. Defendant Bad Boy Productions LLC is a New York limited liability company

                   that on information and belief is headquartered in New York and/or California.

                   On information and belief, all members of Bad Boy Productions LLC are

                   citizens of New York and/or California. Bad Boy Productions LLC is part of

                   the Bad Boy enterprise and/or a successor-in-interest to other Bad Boy

                   Defendants that comprise the Bad Boy enterprise founded and owned by

                   Combs. On information and belief, Bad Boy Productions LLC is now owned

                   and/or controlled by Combs and/or by Combs Global.

       28.     Defendant Macy’s Inc. is a domestic business corporation doing business in New

York, that on information and belief now has its principal place of business at 151 West 34th

Street, New York, NY 10001.

       29.     Defendants Organizational Does 1-10 are currently unknown entities who were

owned by and/or employed Defendant Combs and enabled the commission of the conduct

complained of herein. As the parties engage in discovery, Plaintiff retains the right to amend the

Complaint to add these entities by name.

       30.     Each of the Combs Corporations (a) aided and abetted and conspired with Combs

in committing the unlawful sexual violence against Plaintiff described herein, (b) are alter egos for

Combs, completely dominated by him and used for his personal interests and to engage in

wrongdoing which harmed Plaintiff and others, and/or (c) serve or have served as vehicles for

Combs to move, dispose of, and/or insulate his assets, including in connection with his criminal

activities and to avoid compensating the victims of his many crimes, including Plaintiff.




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                                 JURISDICTION AND VENUE

       31.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332 because

this case is between citizens of different states, and the amount in controversy exceeds $75,000.

       32.     This Court has specific personal jurisdiction over Defendants because the acts

giving rise to Plaintiff’s claims took place in New York State, and because several of the

Defendants are domiciled in New York State and/or regularly transact business in New York State.

       33.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred in this District.

                                         JURY DEMAND

       34.     Plaintiff hereby demands a trial by jury on his claims in this action.

                                  FACTUAL ALLEGATIONS

       35.     In 2008, Plaintiff worked as an advisor for Ecko Clothing, and had been employed

by the company for approximately seven years. Ecko Clothing at the time was among the most

popular clothing lines in the country.

       36.     In 2008, Combs’ Sean John clothing line was also hitting peak popularity. Plaintiff

had in fact met Combs several times in connection with Combs’ development and marketing of

the Sean John clothing line.

       37.     Ecko and Sean John were competing lines within the clothing industry, both having

had a large amount of success within the hip-hop community.              Moreover, both lines had

relationships with and were carried at the time by Macy’s, a well-known department store.

       38.     In or around May 2008, Plaintiff was in the stockroom at Macy’s flagship store at

Herald Square in Manhattan, when Combs and three of his bodyguards entered the stockroom.




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        39.     Plaintiff came upon Combs and his bodyguards at a “T” junction in the stockroom,

where Plaintiff had very little room to maneuver. Combs was flanked by two large bodyguards to

the left and one large bodyguard to the right.

        40.     Immediately after turning a corner in the stockroom, Plaintiff was hit hard around

the base of the neck, possibly with a pistol. The blow forced Plaintiff to his hands and knees. As

Plaintiff looked up, he saw that each of the bodyguards had guns in their waistbands. Plaintiff

heard multiple voices call out things like “I’ll kill you.”

        41.     Combs approached Plaintiff while Plaintiff was still on his hands and knees and

said “Suck my dick, Ecko,” referring to the clothing line that Plaintiff worked for. Combs thereafter

forced his penis into Plaintiff’s mouth and proceeded to forcefully, and brutally, orally rape

Plaintiff. Combs continued for at least two minutes, until ejaculating. While orally raping

Plaintiff, Combs grabbed Plaintiff’s hair and made derogatory comments like “You like that, white

boy?”

        42.     After he was finished, Combs threw Plaintiff’s head aside and said words to the

effect of “shut up or I’ll kill you.” Combs and his bodyguards began to leave, taunting Plaintiff as

they did. Combs proceeded to gather Sean Jean merchandise from the stockroom. He left the

stockroom and headed out to the Macy’s retail floor, where he began passing out merchandise to

an adoring crowd, as if nothing had happened.

        43.     In shock and traumatized, Plaintiff gathered himself and went to Macy’s security

to report the assault. By this point, Combs and his bodyguards had left the store. Plaintiff was

told that someone would speak with him but no one ever did. Shortly thereafter Macy’s stopped

letting Plaintiff into its flagship Herald Square store.




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          44.   Approximately three weeks later, Terry Lundgren, CEO of Macy’s, pressured Ecko

executives to fire Plaintiff because Macy’s had just signed a multi-million-dollar deal with Sean

John Clothing. Ecko thereafter terminated Plaintiff from employment and Plaintiff was told he

could no longer live in his company-paid apartment.

          45.   Plaintiff is informed and believes that the report of the assault was destroyed or

otherwise purged from Macy’s records, and no action was ever taken as a result of the report.

          46.   Plaintiff ultimately had to move out of New York. Plaintiff still fears for his life as

a result of the incident and the threats made against him on that day, including the fact that Plaintiff

was known to Combs by way of his work with rival clothing company Ecko.

                              FIRST CAUSE OF ACTION
    (Violation of New York City Victims of Gender-Motivated Violence Protection Act)
                                     (All Defendants)

          47.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          48.   By forcing sexual contact onto Plaintiff, specifically by physically assaulting and

then forcibly orally raping Plaintiff, Defendant Combs committed a “crime of violence motivated

by gender” under the Victims of Gender-Motivated Violence Protection Act (“VGMVPA”) as

defined in New York City Administrative Code § 10-1103.

          49.   The requirement that the crime of violence be committed because of gender or on

the basis of gender, and due, at least in part, to an animus based on the victim’s gender is satisfied

because Defendant Combs forced Plaintiff to engage in a sexual interaction without consent. John

Doe was incapacitated by a physical blow and then forced to remain on his hands and knees due

to threats of violence backed up by the presence of firearms on three bodyguards. The non-

consensual sexual contact herein presented a serious risk of physical injury, and in fact caused



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such injury. Gender animus inheres when consent is absent. Moreover, Combs’ long history of

violence and sexual abuse against men evinces a deep contempt and desire for domination over

men.

       50.     The Combs Business and Defendant Macy’s conspired with and enabled Combs to

commit the crime of violence motivated by gender because Combs sexually assaulted Plaintiff at

a department store doing business with the Combs Business and carrying Combs Business

products. On information and belief, Combs Businesses routinely committed sexual assault and

gender-motivated violence, as detailed in other civil lawsuits, to further the business purpose of

Combs’ enterprise. Given Combs’ long- standing pattern and practice of committing sexual

violence against men, the Combs Business had and/or should have had knowledge of Combs using

such venues for this unlawful conduct, and did nothing to stop it.

       51.     The Combs Business and Defendant Macy’s conspired with and enabled Combs to

commit the crime of violence motivated by gender by failing to, among other things, protect

Plaintiff from a known danger and/or have sufficient policies and procedures in place to prevent

sexual assault and/or train their employees on identifying and preventing sexual assault. Given

long-standing pattern and practice of committing sexual violence against men, including on

premises owned and/or operated and/or used by Defendants for business purposes, the Combs

Corporations had and/or should have had knowledge that Combs was a danger to Plaintiff, and did

nothing to stop Combs.

       52.     The Combs Business and Defendant Macy’s conspired with and enabled Combs to

commit the crime of violence motivated by gender by failing to properly supervise. The Combs

Business had knowledge and/or should have had knowledge of Combs’ widespread and well-

known practice of committing sexual assault and gender-motivated violence, including on



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premises owned and/or operated and/or used for business purposes by Defendants, and did nothing

to stop it.

        53.    The Combs Corporations and Defendant Macy’s conspired with and further

enabled Combs to commit the crime of violence motivated by gender by actively placing,

maintaining, and/or employing Combs in positions of power and authority, despite the fact that

they knew and/or should have known that Combs had a widespread and well-known practice of

committing sexual assault and gender-motivated violence, including on premises owned and/or

operated by Defendants. Combs used his titles and authority conferred by the Combs Business,

including as CEO, Founder, and Chairman to facilitate and perpetuate the violent assault on

Plaintiff, and to intimidate and force Plaintiff to keep quiet in subsequent years.

        54.    On information and belief, Plaintiff alleges that Defendant Organizational Does 1

through 10, inclusive, are other parties not yet identified who have enabled Combs to commit the

crime of violence motivated by gender, in the ways articulated above and/or in other ways.

        55.    As a result of Defendants’ actions, Plaintiff suffered damages in an amount to be

determined at trial and pursuant to the fee-shifting provision of the statute.

        56.    This legal action has been commenced within the statutory timeframe provided by

the two-year look-back window for VGMVPA claims. See New York City Administrative Code

§ 10-1105.

        WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants as follows:

               a. Awarding compensatory damages for all physical injuries, emotional distress,

                   psychological harm, anxiety, humiliation, physical and emotional pain and




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               suffering, family and social disruption, and other harm, in an amount to be

               determined at trial;

            b. Awarding punitive damages in an amount to be determined at trial;

            c. Awarding attorneys’ fees and costs pursuant to any applicable statute or law;

            d. Awarding pre- and post-judgment interest on all such damages, fees, and/or

               costs;

            e. Attaching any and all of Defendants’ real property and other assets located in

               the State of New York pursuant to Federal Rule of Civil Procedure 64; and

            f. Awarding such other and further relief as this Court may deem just and proper.

Dated: OCTOBER 14, 2024

                                           Respectfully submitted,

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